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                  IN THE UNITED STATES DISTRICT COURT
              NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION

IN RE: Janet Tarihi                             )      Case No.
                                                )
                                                )
      Plaintiff                                 )      AMENDED COMPLAINT
                                                )
                                                )      Judge:
                                                )
                                                )      Magistrate:
v.                                              )      July Demand Requested
                                                )
      American Profit Recovery                  )
      34505 W. 12 Mile, Suite 333               )
      Farmington Hills, MI 48331                )
                                                )
                                                )
      Defendant                                 )
______________________________________________________________________
   Now comes Plaintiff, by and through her attorneys, and, for his Complaint alleges as
                                        follows:

                                        INTRODUCTION

             1. Plaintiff, Janet Tarihi, brings this action to secure redress from unlawful
                collection practices engaged in by Defendant, American Profit
                Recovery. Plaintiff alleges violation of the Fair Debt Collection
                Practices Act, 15 U.S.C. Section 1692 et seq. (“FDCPA”).
             2. The FDCPA broadly prohibits any false, misleading or deceptive
                threats in connection with the collection of a debt 15 U.S.C. Section
                1692e.
             3. A debt collection may not imply outcomes that are not legally able to
                come to pass. Lox v. CDA, Ltd., 689 F.3d 818, 825 (7th Cir. 2012)
             4. The Seventh Circuit has stated that "[w]hen language in a debt
                collection letter can reasonably be interpreted to imply that the debt
                collector will take action it has no intention or ability to undertake, the
                debt collector that fails to clarify that ambiguity does so at its peril." Lox
                v. CDA, Ltd., 689 F.3d 818, 825 (7th Cir. 2012) (citing Gonzales
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           v. Arrow Financial Services,LLC, 660 F.3d 1055, 1063 (9th Cir. 2011)).
        5. Contested statements are only “truisms” if these outcomes could only
           come to pass. See Lox. 689 F.3d 818
        6. In Wilder vs. J.C. Christensen & Associates, Inc. (Case No. 16-cv-
           1979) (N.D.IL 2016), the Court stated “literally true conditional
           language in a dunning letter can be deceptive if the action suggested is
           legally prohibited.” Id.
        7. The Sixth Circuit Court of Appeals stated “[I]f Plaintiff can show that
           interest or charges could never accrue and therefore the balance owed
           is truly fixed, then his claim should be allowed to go forward to
           determine if, under those circumstances, Defendants’ letter was
           threatening or materially misleading.” Walker vs. Shermeta, Adams,
           Von Allment, PC 623 F. App’x 764, 768 (6th Cir. 2015).

                      JURISDICTION AND VENUE
        8. This court has jurisdiction pursuant to 28 U.S.C. Section 1331, 1337,
           1367; and 15 U.S.C. section 1692(d).
        9. Venue is proper because a substantial part of the events giving rise to
           this claim occurred in this District.

                                      STANDING AND INJURY

        7.Plaintiff has suffered an injury in fact that is traceable to Defendant's
        conduct and that is likely to be redressed by a favorable decision in this
        matter.

                              PARTIES
           8. Plaintiff, Janet Tarihi (hereinafter “Plaintiff”) incurred an obligation to
               pay money, the primary purpose of which was for personal, family,
               or household uses (the “Debt”).
           9. Plaintiff is a resident of the State of Illinois.
           10. Defendant, American Profit Recovery (“Defendant”), is a Michigan
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              business entity with an address of 34505 W. 12 Mile Road, Suite
              333, Farmington Hills, MI 48331 operating as a collection agency,
              and is a “debt collector” as the term is defined by 15 U.S.C. Section
              1692a(6).
           11. Unless otherwise stated herein, the term “Defendant” shall refer to
              American Profit Recovery.
           12. At some point, the original creditor, transferred this debt to
              Defendant for debt collection.
                                    ALLEGATIONS
           13. The Plaintiff allegedly incurred a financial obligation in the
              approximate amount of $56.00 (the “Debt”) to an original creditor
              (the “Creditor”)
           14. At the time of the dunning letter attached to this Complaint, the
              “Current Balance” is $61.19.
           15. The Debt was purchased, assigned or transferred to Defendant for
              collection, or Defendant was employed by the Creditor to collect to
              Debt.
           16. The Defendant attempted to collect the Debt and, as such,
              engaged in “communications” as defined in 15 U.S.C. Section
              1692a(2).
           17. On February 15, 2017, Defendant mailed Plaintiff a collection letter.
              See Exhibit.
           18. Said letter was not an initial dunning letter subject to 15 U.S.C.
              Section 1692g.
           19. Said letter states “[A]s of the date of this letter, you owe $61.19.
              Because of interest, late charges, and other charges that may vary
              from day to day, the amount due on the day you pay may be
              greater. Hence if you pay the amount shown above, and
              adjustment may be necessary after we receive your check. In
              which event we will inform you before depositing the check for
              collection.”
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           20. Plaintiff and the original creditor did not enter into a written contract.
           21. While Illinois law indeed allows for a debt collector to charge up to
              five percent interest, nothing in Illinois allows for “late fees” or “other
              charges” where there is no prior agreement for such fees.
           22. There is absolutely no legal possibility that the statement in
              paragraph 19 can come to pass.
           23. It is a violation of 15 U.S.C. Section 1692e to imply an outcome that
              can not legally come to pass.


           AMENDED COMPLAINT-ADDITIONAL ALLEGATIONS


           24. There was no written agreement between the Plaintiff and the
              original creditor.
           25. Therefore there were no grounds or reasons for late fees or
              late charges.
           26. Moreover, the only rights for the Defendant to charge interest
              are found in 815 ILCS 205/2.
           27. Said statute requires a thirty day warning before any interest
              can be charged; in the case at bar, no such warning has been
              given.


 VIOLATIONS OF THE FDCPA-15 U.S.C. SECTION 1692, et seq.
           28. The Plaintiff incorporates by reference all of the above paragraphs
              of this Complaint as though fully stated herein.
           29. The Defendants’ conduct violated 15 U.S.C. Section 1692e in that
              the Defendant materially misled Plaintiff through this
              communication.
           30. The Defendant’s conducted violated 15 U.S.C. Section 1692e in
              that it implied consequences that could not legally occur.
           31. Plaintiff is entitled to damages as a result of Defendants’ violations.
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                                    JURY DEMAND
           32. Plaintiff demands a trial by jury.
                                    PRAYER FOR RELIEF
           33. Plaintiff demands the following relief:
        WHEREFORE, the Court should enter Judgment in favor of Plaintiff and
        against Defendant for:
                     (1) Statutory damages;

                      (2) Attorney fees, litigation expenses and costs of suit; and

                      (3) Such other and further relief as the Court deems proper.

                                                    Respectfully submitted,
                                               /s/ John Carlin__________________
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